     Case 6:09-cr-00048-LGW-CLR Document 1016 Filed 04/16/12 Page 1 of 1


                                                                  Lt.
                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF GEORGIA
                                                                2017 PR 16 Atl   10 : 16

                        STATE SBORO DIVISION.                  CLERL.4/



UNITED STATES OF AMERICA            )
                                    )
V.                                  )     Case No. CR609-048
                                    )
1W.50410MKIWIF                      )

                                 ORDER


       After a careful de novo review of the record in this case, the Court
concurs with the Magistrate Judge's Report and Recommendation, to which
no objections have been filed. Accordingly, the Report and Recommendation
of the Magistrate Judge is adopted as the opinion of the Court.
       SO ORDERED this / day of___________ 2012.



                                    13. AVANT EDENFJffLIO
                                    UNITED STATE%DIWFRICT JUDGE
                                    SOUTHERN D(STRICT OF GEORGIA
